Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 1 of 40

UNI'I`ED STATES I)lSTRICT CGURT
SOUTHERN DISTRICT ()F NEW YORK

 

Case NO. 14-cv-9662 (JSR)

IN RE PETR()BRAS SECURITIES

LITIGATI@N CLASS ACTION

 

REDACTED REPLY MEMORANI)UM ()F LAW IN SUPPORT OF (1) LEAD
PLAINTIFF’S MOTI()N F()R FINAL APPR()VAL OF CLASS ACTI()N SETTLEMENT
AND PLAN ()F ALLOCATION; AND (2) CLASS COUNSEL’S MOTI()N F()R AN
AWAR]) OF ATT()RNEYS’ FEES AND REIMBURSEMENT GF LITIGATI()N
EXPENSES

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 2 of 40

TABLE OF CONTENTS

PREI,,IMINARY STATEMEN'I` .................................................................................................... 1
1. '1`W() ()F THE OBJECTORS LACK STANDING '1`() ()PPOSE THE SE"I"l`LEl\/IENT .. 3
A. Renewable Carbon Corp. Has NO Standing to Obj ect ............................................ 4
B. The Bishops lelave Nc) Standing '1`0 Obj eet ............................................................. 4
11. A NUMBER ()F OBJECTORS HAVE IMPROPER MOTIVES ...................................... 4
A. CCAF IS A Serial ()bj ector With An Anti-Class Action Agenda ........................... 5
B. Joseph Gielata Has A Colorful Past And Has ()pposed Other Mega-Sett]ements
To Extract Payments ............................................................................................. 10
C. JoShua Furrnan IS A Serial Objeetor ..................................................................... 12
HI. The Objections Are Meritless ........................................................................................... 14
A. The Morrison Objection Should Be Rejected ....................................................... 14
B. HayneS’S (i)bj ection That The Settlement ClaSS Cannot Satisfy Rule 23(b)(3)’s
Predominance Requirement IS Meritless .............................................................. 23
IV. The Objectors’ Remaining Arguments Are Meritless ...................................................... 24
1. The Fee Request ........................................................................................ 24
2. Cy Pres ...................................................................................................... 25
3. Breakdown of Lodestar ............................................................................. 25
V. Additional Responses Concerning Fees ............................................................................ 25
1. W()lt`Popper & Almeida’ S Motion ........................................................... 26
2. KSF’S Mc)tion ............................................................................................ 27
3. BLBG’S Motion ........................................................................................ 28
CONCLUSION ............................................................................................................................. 30

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 3 of 40

TABLE OF AUTHORITIES

Page(s)

Cases
Absolute Activist Value Master Funa' Ltd. v. Ficeto,

677 F.3d 60 (2d Cir. 2012) ..................................................................................... 16, 18, 20, 24
All ]mz'z`recl' Purchaser Acl'z`ons v. ]nfmeon Techs. AG (]n re Dynamz'c Rcmdom

Access Memory Antz`trusr Lz`z‘z'g. ),

NO. M-02-1486-PJH, 2013 U.S. Dist. LEXlS 188116 (N.D. Cal. Jan. 7, 2013) ..................... 19
Amchem Prods., [nc. v. Wz'ndsor,

521 U.S. 591 (1997) ........................................................................................................... 17, 22
Barnes v. ]*`leetB()Smn Fz'n. Corp.,

NO. 01-cv-1,0395, 2006 WL 6916834 (D. MaSS. Aug. 22, 2006) .............................................. 5
Blessz`ng v. Sl'rz`us XM Raa’l`c) [nc.,

507 F. App’x 1 (2d Cir. 2012) ................................................................................................... 8
ChOi v. T()wer Research Capl`z‘al LLC,

NO. 17~cv-648 (2d Cir. Mar. 29, 2018) .............................................................................. 15J 17
Cily of Detroz`z‘ v. Grz'nnell Corp.,

495 F.2d 448 (2d Cir. 1974) ................................................................................................... 1, 2
Cz`[y osz`vonia Emps, ’Rez‘. Sys. v. Wyeth,

No. 07-0\/-10329, 2013 WL 4399015 (S.D.N.Y. Aug. 7, 2013) ................................................ 7
Cz'!y Q/`Pontz`ac Polz`cemen ’S & Fz`remen ’S Rez‘. Sys. v. UBS AG,

752 P`.3d 173 (2d Cir. 2014) ..................................................................................................... 18
Cobell v. Salazar,

679 F.3d 909 (D.C. Cir. 2012) ................................................................................................. 17
D 'Amato v. Deuz‘sche Bank,

236 F.3d 78 (2d Cir. 2001) ......................................................................................................... 2
Dennz`S v. Kellogg Co. ,

No. 09~cv-1786-1EG (WMC), 2013 U.S. Dist. LEXIS 129205 (S.D. Cal. Sept.

10, 2013`) .................................................................................................................................... 7
Denm`s v. Kellogg Co.,

NO. 09-cv-1786-L, 2013 WL 6055326 (S.D. Cal. Nov. 14, 2013) ........................................ 4, 7
Dewey v. Volkswagen ofAm. ,

728 F. Supp. 2d 546 (D.N.J. 2010) ............................................................................................ 8

ii

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 4 of 40

Dewey v. Volkswagen ofAm. ,
909 F. Supp. 2d 373 (D.N.J. 2012), ajf"a’, Dewey v. Volkswagerz
Akl‘z'erzgesellscha/i, 558 F. App’X 91 (3d Cir. 2014) .................................................................. 5

Feder v. Elec. Data Sys. Cc)rp.,
248 F. App’X 579 (Sth Cir. 2007) .............................................................................................. 3

Garber v. O]j€ce ofComm ’r ofBaseball,
Ne. 12-cv-03704 (VEC), 2017 WL 752183 (S.D.N.Y. Feb 27, 2017) ...................................... 5

Gz'elata v. Ez`senhofer,
No. 1()~cv-00648-G1\/IS (D. Del. Aug. 3, 2010) ....................................................................... 11

Gz'elafa v. Eisenh<)fer,
No. 11-cv-442-PB (D.N.H. NOV. 30, 2012) ............................................................................. 11

G()Zdberger v. [nlegrated Resources, Inc.,
209 F.3d 43 (2d Cir. 2000) ....................................................................................................... 25

Gmnl v. Bethlehem Steel Corp. ,
823 1".2€1 20 (2d Cir. 1987) ......................................................................................................... 3

Green v. Wolj’Corp.,
406 F.2d 291 (2d Cir. 1968) ..................................................................................................... 23

[n re Aelna UCR Lz`tl`g. ,
NO. 07-CV-3541, 2013 WL 4697994 (D.N.J. Aug. 30, 2013) .................................................. 21

fn re Am. [nt’l Grp. Sec. Lz`tz`g.,
689 F.3d 229 (2d Cir. 2012) ..................................................................................................... 15

In re Am`matz`on Workers Antilrust Lz`tz`g. ,
NO. 14-0\/~04062 (N.D. Cal.) ................................................................................................... 13

fn re AOL Tz`me Warner, Inc. Sec. & “ERISA ” Li!z`g.,
Nos. MDL 1500, 02-cv-5575 (SWK), 2006 WL 903236 (S.D.N.Y. Apr. 6,
2006) .......................................................................................................................................... 3

fn re APA Assessment Fee Litz`g.,
311 F.R.D. 8 (D.D.C. 2015) ........................................................ . ............................................ 19

]n re Cendcml Corp. Lz`tz`g.,
264 F.3d 201 (3d Cir. 2001) ................................................................................................. 3, 19

111 re EVC] Career C()IIS. Holding Corp. Sec. Lz'tig.,
No. 05-0\/-10240, 2007 WL 2230177 (S,D.N.Y. July 27, 2007) ............................................. 21

iii

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 5 of 40

_/n re FLAG Telecom Hola'ings, Lta'. Sec. Litz`g.,
Nc). 02-cv-3400, 2010 WL 4537550 (S.D.N.Y. NOV. 8, 2010) ................................................ 21

]n re Gz`elata,
933 A.2d 1249 (Del. 2007) ...................................................................................................... 11

In re Global Crossing Sec. & ERISA Lz`fz`g. ,
225 F.R.D. 436 (S.D.N.Y. 2004) ............................................................................................... 2

111 re G00gle Buzz Prz'vacy Lz`z‘l`g. ,
NO. 11-16642 (9th Cir. Ju1y 7, 2011) ................................................................................. 12, 13

In re Inz'tz'al Pub` O_fferz'ng Sec. Lz`tl`g.,
721 F. Supp. 2d 210 (S.D.N.Y. 2010) .................................................................................. 4, 13

In re Initz`al Publl`c ()jj’erz`ng Sec, Ll`lz'g.,
NO. 21 MC 92 (SAS), 2011 WL 3792825 (S.D.N.Y. Aug. 25, 2011) ....................................... 3

In re ]ns. Bmkemge Antilrust Lz`tig. ,
579 F.3d 241 (3d Cir. 2009) ..................................................................................................... 25

In re Law Of]`”zce QfJonal‘han E. 17 Ortman, LLC,
No. 13~mc-00042 AGF, 2013 WL 414476 (E.D. 1\/10. Feb. 1, 2013) ........................................ 5

fn re Gnline DVD Rental Antitrust Litig.,
NO. 09-md~2029 (N.D. Cal.) .................................................................................................... 12

ln re Online DVD-Rental Antz‘[rusf Lz`l‘z`g.,
779 F.3d 934 (9th Cir. 2015) ..................................................................................................... 8

fn re Payment Cczm’ Im‘erchcmge Fee & Mercham Discozmt Antz'trust Lz'tz`g.,
Nc). 05-md-1720 (E.D.N.Y Oct. 20, 2005) ........................................................................ 12, 22

ln re Paymenl Card [merchcmge Fee & Merchant Dz`scounz‘ Antz'tmst Lz'tz'gatz`on,
827 F.3d 223 (2d Cir. 2016) ..................................................................................................... 22

In re Petro})ras Securitz`es Liziga[ion,
862 F.3d 250 (2d Cir. 2017) ......................................................................................... 15, 23, 24

In re Royal AholdN. V. Sec. & ERISA Ll'tl'g.,
461 F. Supp. 2d 383 (D. Md. 2006) ......................................................................................... 13

fn re 77anspacz'j?c Passenger Az'r Tmnsp. Antz`)frusl‘ Lz`tig. ,
No. 07-cV-05634-CRB (N.D. Cal. July 13, 2015) ................................................................... 10

]n re Tyco, Int’l, Lz‘d. Multl`a'istrz`ct Lz`tz`gcztio//z
(D.N.H. Aug. 23, 2002) ........................................................................................................... 11

iv

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 6 of 40

fn re Um`ledHeallh Gl'p. Inc. PSLRA Litig.,

643 F. Supp. 2c1 1107 (D. Mirm. 2009) .................................................................................... 12
]n re VeriFone Holdings, Inc. Sec. Lz`tz`g.,

No. C-07-6140 EMC, 2014 U.S. Dist. LEXIS 20044 (N.D. Cal. Feb. 18, 2014) .................... 19
Lonardc) v. vaelers Indem. CO.,

706 F. Supp. 2d 766 (N.D. Ohio 2010) ...................................................................................... 7
Maley v. Del Glob. Techs. Corp.,

186 F. Supp. 2d 358 (S.D.N.Y. 2002) ...................................................................................... 21
Morrz`son v. Nal’[ Austl. Bank Ltd.,

561 U.S. 247 (2010) ......................................................................................................... passim
()r[z`z v. Fz`breboard Corp.,

527 U.S. 815 (1999) ........................................................................................................... 22, 23
Pappas v. NakedJuz'ce Co. OfGlena'om,

NO. 14-55023 (9th Cir. Jan. 7, 2014) ................................................................................. 12, 13
Precisz'c)rz Assocs., Inc. v, Panalpz'na World Transp. (Holding) Lm’.,

No. 08-cv~42, 2013 WL 4525323 (E.D.N.Y. Aug. 27, 2013) ................................................... 2
Rodriguez v. W. Publ ’g Corp. ,

563 F.3d 948 (9th Cir. 2009) ............................................................................................. 19, 25
Rodriguez v. W. Publ ’g Corp. ,

NO. 05~cv-3222 (C.D. Cal. Apr. 29, 2005) .............................................................................. 12
Schlesinger v. Tz'ckermasz‘er,

No. BC304565 (L.A. Super. Ct.) ............................................................................................. 12
SEC v. Ahm€d,

NO. 15-cv~675, 2018 WL 1585691 (D. Conn. Mar. 29, 2018) ................................................ 18
Sullz'vcm v. DB ]nvs., Inc.,

667 F.3d 273 (3d Cir. 2011) ................................................................................... 15, 19, 20, 23
TBK Partners, Lta’. v. W. Um'on Corp.,

675 F.2cl 456 (201 Cir. 1982) ..................................................................................................... 15
Trombley v. Nal ’l Cz‘ly Bank,

826 F. Supp. 2d 179 (D.D.C. 2011) ........................................................................................... 8
U.S. v. Georgiou,

777 b`.3d 125 (3d Cir. 2015) ..................................................................................................... 18

v

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 7 of 40

U.S. v. Vz`lar,

729 F.3d 62 (2d Cir. 2013) ....................................................................................................... 18
Wal~Mart Stares, ]nc. v. Visa U.S.A. lnc.,

396 F.3d 96 (2d Cir. 2005) ................................................................................................... 2, 15
Wobm‘n Ret. Sys. v. Salz'x Pharm., Llcl.,

Nc). 14~cv-8925 (KMW), 2017 WL 3579892 (S.D.N.Y. Aug. 18, 2017) .................................. 3
Young v. Canway,

715 F.3d 79 (2d Cir. 2013) ....................................................................................................... 20
Zhang v. E*Traa’e Fz`n. Corp. ,

NO. 13221098 (Cal. Ct. App. 2d Dec. 21 , 2009) ....................................................................... 12
Statutes
15 U.S.C. §780(3)(3 8) .................................................................................................................... 18
PSLRA ........................................................................................................................................... 26
Rules
D.C. Rules of Prof. Resp., Rule 1.2(a) ........................................................................................... 10
Delaware Lawyers’ Rules of Professic)nal Ce_nduet: Rule 8.4 ....................................................... 11
1"`ed. R. Civ. P. 11 ................................................................................................................. 5, 10, 14
Fed. R. Civ. P. 23 ................................................................................................................... passim
N.Y. Rules of Prof. Conduct, Rule 1.2('¢1) ...................................................................................... 10
()ther Authorities
Alan Stuart and J. Keith Ord, Probabz`lily and Statistz'cal Inference, Kendall ’s

Advanced Theory Osz‘afl'sl‘l`cs 288-90 ...................................................................................... 17
B. Morris and Stuart Z. G01dstein, Guz`a’e to Clearance and Seltlemem, An

Intma’actz`on m DTCC .............................................................................................................. 16
Black ’s Law Dz'ctionary (10th ed. 2014) .......................................................................................... 9

CEI Bc)ard of Directc)rs, W. Thc)mas Haynes (Chairman), available al
https://cei.erg/cei-board-directors .............................................................................................. 6

Class Actz'on Avenger Discusses Cc)upon Crusaa'es, Legal Pad, Sept. 23, 2009,

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vi

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 8 of 40

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at http://conservativetransparency.0rg/recipient/competitive~enterprise-
institute/ ...................................................................................................................................... 7

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Daily Record, May 23, 2010 ...................................................................................................... 6
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Enterprise lnstitute?”, The Washington POSt (June 20, 2013) ................................................... 7
Guz`a’e to Clearance & Selllemem, an [nlroa'actz'on to DTCC, Supra 118 ....................................... 18

J<)hn C. Cc)ffee, Jr., ClaSS Aclion Accoantabz`lz`ly: Reconcz`lz'ng Exz`t, Voz`ce, and

Loyally in Representative Lz`tz`galz'on, 100 Colum. L. Rev. 370, 398 (2000) ........................... 22
Joseph 1\/1. MCLaughhn, MCLaughlin on Class Aclz`ons.' Law and Praclz`c€ 141 §

6:28 (5th ed. 2009) ................................................................................................................... 16
Karen Lee Torre, Challengz'ng Cy Pres Scams, Conn. L. rl`ribune, Nov. 22, 2010 ......................... 6
New York County (N.Y.) Ethics Op. 699 (1994) .......................................................................... 10
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vii

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 9 of 40

Court-appointed Class Counsel, having achieved a 83 billion Settlement in cash for the
benefit of the Class in this action, respectfully submit this reply memorandum ol` law in further
support of Lead Plainti[ls’ l\/lotion for Final Approval of Class Action Settlernent and Plan of
Alloeation and Class Counscl’s l\/lotion for an Avvard of Attorneys’ Fees and Expenses and
i

Reimbursement of litigation Expenses.

PRELIMINARY STATEMENT

ln their opening papers, Class Representatives demonstrated that the factors set forth by
the Seeond Circuit in Cin ofDeiroii v. Grinnell Corp. , 495 F.2d 448, 463 (2d Cir. 1974), together
With other pertinent considerations, Weighed heavily in favor ol` approving the Settlement. Novv,
the Class’s overwhelmingly positive reaction to the Settlernent demonstrates that the Settlement is
fair and reasonable and should be approved As discussed in the Lieberman Declaration, as of
April 13, 2018, more than 1,053,850 copies of the Notice Were mailed to potential Class l\/lernbers7
and a Surnmary Notice vvas published in major publications spanning several dozens of countries
(ECF. No. 789 1111 333, 340). The Notice advised class members that Class Counsel vvould seek a
fee in an amount not to exceed 8285 million and for reimbursement of expenses of no more than
318 million and contained the plan of allocation la’. 11 334.2 And although Petrobras’ Securities
at issue Were held by literally thousands of institutions during the Class Period, no institutional
investor has objected to the Settlement. ln fact, the Class Representatives, as institutional
investors, strongly support the Settlement. l\/loreover, after reviewing the excellent results
obtained by the Settlement, all but one of the remaining institutional plaintiffs in the lndividual

Actions_sophisticated institutional investors represented by sophisticated counsel_have

 

l A Proposed ()rder Avvarding Attorneys’ Fees and Expenses to Class Representatives is attached
hereto as Exhibit 1.

2 The requested fee of 8284.5 million has been reduced to 8284.4 million pursuant to a call With
the Court on April 30, 2018.

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 10 of 40

indicated their intention to remain Settlement Class Members and forego their individual claims
See ECF. No. 789 11 1 1 n.5. One brave institution, Washington State lnvestment Board, represented
by Robbins Gcller Rudman and Dowd LLP (“RGRD”), has decided to continue its action, despite
the fact that the other four opt-cuts represented by RGRD have now opted to remain in the
Settlement Class.

Significantly, there have been only six objections_including two professional objectors
and another who has been found to have been engaged in “conduct that is prejudicial to the
administration of justice” and who “comrnitted a criminal act that reflects adversely on his honesty
and trustworthiness”~ ------ to the Settlement and 490 timely requests for exclusion 3 'l`his result is a
testament to the extraordinary achievement here. “[T]he favorable reaction of the overwhelming
majority of class members to the Settlement is perhaps the most significant factor in [the] Grinnell
inquiry,” Wal-Mari Srores, [nc. v. Visa US.A. Inc., 396 F.3d 96, 119 (2d Cir. 2005). Where, as
here, only a tiny proportion of the class has objected or sought to exclude themselves from the
Class, the most important Grinnell factor is satisfied See D’Aniato v. Deuische Bank, 236 F.3d
78, 86-87 (2d Cir. 2001) (“The District Court properly concluded that this Small number of
objections 118 objections to settlement with 27,883 class notices sent] weighted in favor of the
settlement.”); In re Global Crossing Sec. & ERISA Liiig_, 225 F.R.D. 436, 457, 458 (S.D.N.Y.
2004) (six objections out of a class of approximately one million was “vanishingly small” and
“constitutes a ringing endorsement of the settlement by class members”); Precision Assocs., ]nc.

v. Panalpina Worla1 7')’ansp. (Hola'ing) Lid., No. 08-cv-42, 2013 WL 4525323, at *7 (E.D.N.Y.

 

3 On May 9, 2018, two days before the deadline to object, John lacob Pentz, a Massachusetts
attorney purporting to represent a Class member named Anne Cochran, applied to the Court for
admission pro hac vice. (ECF. No. 794). The Court granted Pentz’s application (ECF. No. 802),
but Pentz and/or Cochran have not filed any other documents, nor have they given notice that they
object to the Settlemcnt.

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 11 of 40

Aug. 27, 2013) (approving settlement where 183 members out of “hundreds of thousands” opted
out, and two objectcd). Particularly where, as here, sophisticated institutions constitute a
significant portion of the class, the absence of any institutional objections further demonstrates the
adequacy of the Settlement. See, e.g., [n re AOL lime Warner, Inc. Sec. & “ER[SA ” Lz'z‘ig_, Nos.
MDL 1500, 02-cv-5575 (SWK), 2006 WL 903236, at *10 (S.D,N.Y, Apr. 6, 2006); Wobarn Ret.
Sys. v. Salix Pharm., Lia’., No. 14-cv~8925 (Kl\/IW), 2017 WL 3579892, at *2-3 (S.D.N.Y. Aug.
18, 2017). ln cases such as this, involving a large class and an extensive notice campaign, it is
extremely unusual to receive such a limited number of objections rl`o the contrary, a certain
number of objections are to be expected See, e.g., Grani v. Bez‘hlehcm Steel Corp., 823 F.2d 20,
24 (2d Cir. 1987) (affirining settlement approval despite opposition by 36% of the class, as “[w]e
perceive no reason why a settlement cannot be considered fair despite opposition from . . .
significantly less than half of the class; In re AOL Time Warner, 2006 WL 903236, at *10
(approving settlement with 10,082 opt-cuts from a putative class of 4.7 million).4
As explained below, the few objections are meritless and should be rejected

I. TW() ()F THE ()BJECT()RS LACK STANDING T() ()PP()SE THE
SETTLEMENT

“[A]s a general rule, only class members have standing to object to a proposed settleinent,”
See 4 Newberg on Class Aciions § 11:55 (4th ed. 2002); see also Fecler v. Elec. Daia Sys. Corp.,
248 F. App’x 579, 581 (5th Cir. 2007) (an objector who “produced no evidence substantiating his
membership in the class” had no standing to obj eet); ]n re lniiial Pablic Ojj(cring Sec. Liiig., No.
21 MC 92 (SAS), 2011 WL 3792825, at *1 (S.D.N.Y. Aug. 25, 2011) (“to be a class member

Hayes must. .. [have been] damaged thereby.”)

 

4 See also In re Cenalant Cor_p. Liiig., 264 1".3d 201, 234 (3d Cir. 2001) (receipt of only four
objections by class members “cut strongly in favor of the Settlement, as the number of objectors
was quite small in light of the number of notices sent and claims filed.”).

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 12 of 40

A. Renewable Carbon Corp. Has No Standing to ()bject

The trading records produced by Renewable Carbon Corp. make clear that this objector
lacks standing to challenge the Settlcment. Renewablc Carbon represents and provides
corresponding documentary evidence that it “acquired shares of Petroleo Brasileire Petrobras SA
ADR (PBR) on 02/02/2010, 17,500 ADS at 841.9545; on 3/29/2010, 9,600 ADS at 843.8597 and
on 02/01/2013, 63,100 ADS at 818.6159. Adding up to total of 90,200.00 shares All shares were
sola1 on 7/3]/20]3 . . . .” (emphasis addcd) (ECF. No. 812, including transaction records reflecting
the sale of all PBR ADRs on 7/31/2013). The first corrective disclosures occurred on ()ctober 16,
2014, so Renewable Carbon Corp’s damages arc zero.

B. The Bishops Have No Standing To Object

The Bishops, who purport to have purchased 445 Petrobras ADSs, failed to present any
documentary evidence such as bank records of their transactions in Petrobras securities Exhibit
A to the Bishops’ objection is a claim form filled out by the Bishops themselves without any
appropriate corresponding brokerage or similar reliable records (ECF. No. 811). Such an
incomplete submission is insufficient to demonstrate standing and would be rejected by the Claims
Adrninistrator.

II. A NUMBER OF OBJECTORS HAVE IMPROPER M()TIVES

ln analyzing the merits of the arguments raised by the Objectors, this Court should consider
their ideological and monetary motivations See ln re ]niiial Pab_ Oj‘j%ring See. Liiig. , 721 F. Supp.
2d 210, 215 (S.D.N.Y. 2010) (“l concur with the numerous courts that have recognized that
professional objectors undermine the administration of justice by disrupting settlement in the
hopes of extorting a greater share of the settlement for themselves and their clients.”); Dennis v.
Kellogg Co., No. 09~cv~1786-L (Wl\/le), 2013 WL 6055326, at *4 n.2 (S.D. Cal. Nov. 14, 2013)

(“[W]hen assessing the merits of an objection to a class action settlement, courts consider the

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 13 of 40

background and intent of objectors and their counsel, particularly when indicative of a motive
other than putting the interest of thc class members first.”) (quoting In re Law Offzce ofJonathan
E. Fortman, LLC, No. 13-mc-00042 AGF, 2013 WL 414476, at *5 (E.D. l\/lo. lieb. 1, 2013));
Dewey v. Volkswagen ofAni., 909 F. Supp. 2d 373, 396 n.24 (D.N.J. 2012) (“[C]ertain objectors
are represented by attorneys who are in the profession of objecting to class action settlements,
whether motivated by views of the law, ideology, or otherwise.”), aff’€l, Dewey v. Volkswagen
Akiiengesellschaji, 558 F, App’x 91 (3d Cir. 2014); see similarly Barnes v. li`leeiBoston Fin4 Corp.,
No. 01-cv~10395, 2006 WL 6916834, at *1 (D. Mass. Aug. 22, 2006). lndeed, the objectors’ bad
motives are grounds for the imposition of sanctions under Fed. R. Civ. P. 11, Which the Court
may impose sua sponte Rule 11 mandates that any paper presented to the Court not be made “for
any improper purpose,” such as “to extract fees from class counsel in exchange for the withdrawal
of a meritless objection to the proposed class settlement.” Garber v. Ojjlz`ce of`Comni ’r ofBaseball,
No. 12~cv-03704 (VEC), 2017 WL 752183, at *4 (S.D.N.Y. Feb 27, 2017). Filing an objection to
advance anti-class action agenda is similarly an “improper purpose,” as it has nothing to do with
the best interests of class members, or the objectors’ financial interest in a settlement

A. CCAF Is A Serial Objector With An Anti-Class Action Agenda

CCAF professes pure motives in bringing its objections to protect the class, but in reality
it is nothing but a wolf in sheep’s clothing, advancing the corporate interests of its donors at the
expense of Class members CCAF’s sole purpose is to object to class action settlements See
https://cci.org/issucs/class-action~fairncss. Here, its Objection is submitted on behalf of`Thomas
llaynes and is accompanied by the Declaration of Theodore H. Frank. Haynes serves as the
Chairman of CEl’s board and is a member of CCAF’s litigation advisory committee Haynes
served as the CEO of the Coca-Cola Bottlcrs’ Association, inc., where he built a 8100 million

health-care benefits business See CEl Board of Directors, W. Thomas Haynes (Chairman),

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 14 of 40

available al https://cei.org/cei-board-directors. As a wealthy former corporate executive, the fact
that lelaynes is seeking to scuttle a historic 83 billion settlement for shareholders when the "l`rust
held a meager 55 shares, suffering recognizable losses of 866.()0, speaks volumes about his
motivation Anna St. lohn, lelaynes’s attorney, works for CCAF and has on numerous occasions
either represented objectors who were employees of CCAF or served herself as an objector. See
St. John Decl. ‘ 4 (ECF. No. 800) and Frank Deel. jj 11 (ECF No. 799).

Frank founded CCAF.5 He has described his outlet as a “guerilla operation” dedicated to
challenging class actions Kate l\/loser, Class Aciion Avenger Discz¢sses Coapon Crnsades, Legal
Pad, Sept. 23, 2009, available al http://legalpad.typepad.com/my_weblog/2009/09/class-action-
avenger-discusses-coupon~crusades.html. He has described plaintiffs’ class action attorneys as
“parasites,” who have formed an “unholy” alliance with “collaborationist” judges See Brendan
Kearney, Tlie Deal Breakers.' /1 look at professional class action objectors in MD, The Daily
Record, M,ay 23, 2010; Karen l.iee Torre, Challenging Cy Pres Scams, Conn. L. Tribune, Nov. 22,
2010 (“CCAF is a non-profit, public interest law firm dedicated to bringing to light and challenging
in court the misdeings of an unholy trinity_the class action bar, special interest groups, and
eollaborationist jurists”). He has admitted that his objections are laser-focused on making class
action litigation financially unattractive for attorneys to pursue: “the problem of destructive
securities litigation will only be solved when Congrcss takes contingent~fee trial lawyers and their
perverse incentives out of the equatien.” Theodore Frank, Enron: Exz‘orz‘ion, ]nierruptea’, N.Y.
Sun, Jan. 23, 2008. ln his Twitter account, Frank bemoans this Court’s approval of class action

notice plans generally: “l can guarantee that J. Rakoff has discretionarin approved numerous class

 

5 In 2015, CCAF merged into the Competitive Enterprise lnstitute (“CEI”) and became a division
within their law and litigation unit. (Frank l)ecl. at 4, ECF No. 799).

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 15 of 40

action notice plans with similar waivers and worse notice.” Ted Frank (@tedfranl<), Twitter
(l\/larcli 6, 2018, M).

Advancing this ideological agenda has not been without its rewards for CCAF. The
organization functions through the receipt of millions of dollars in contributions used to advance
its ultra-conservative, corporate-friendly, anti-class action litigation agenda. Past contributors
include the Koch family foundations, Exxon-l\/lobil Corporation, l\/larathon Petroleum, The
Arnerican Conservaiive, l\/lonsanto, Google, Facebook, Pepsico, l\/lasterCard, and the Ameriean
Bankers Association.6 These entities do not represent the interests of the Class. Rather, as courts
have recognized, the goal of CCAF is to eliminate class action litigation See, e.g. , Ciiy of Livonia
Emps. ’ Rel'. Sys. v. Wyeih, No. 07-cv-10329, 2013 WL 4399015, at *5 (S.D.N.Y. Aug. 7, 2013)
(“Petri’s objection on this count does not seem grounded in the facts of this casc, but in her and
her attorney’s [Ted Frank] objection to class actions generally.”); Dennis v. Kellogg Co., No. 09~
cv-1786-1EG (WMC), 2013 U.S. Dist. LEXIS 129205, at **11, 13 n.2, 3 (S.D. Cal. Sept. 10, 2013)
(“the Court notes that present objectors’ counsel, Darrell Palincr and Theodorc Frank of the Center
for Class Action Fairnessj have beth been widely and repeatedly criticized as serial, professional,
or otherwise vexatious objectors,” observing that Frank “works for and represents an ostensibly
‘activist’ organization”), opinion replaced by Dennis v. Kellogg Co., 2013 U.S. Dist. LEXlS
163118, at *1 (S.D. Cal. Nov. 14, 2013) (same in all substantive respects except strikes language
critical of Frank, sapra, after granting Joint l\/lotion to Strike, which Frank stipulated to not appeal);

Lonardo v. Travelers lnale/n. Co., 706 F Supp. 2d 766, 785 (N.l). Ohio 2010) (criticizing CEl’s

 

6 Eilperin luliet, “Anatomy of a Washington dinner: Who funds the Competitive Enterprise
lnstitute?”, The Washington Post (June 20, 2013); see also Competitive Enterprise
institute, Conservative Transparency database, available

at http://conservativetransparencv.org/recipient/competitive-enterprise~institute/ (collecting lRS
Fonn 990 donor data).

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 16 of 40

objections as “long on ideology and short on law,” and noting that CCAF was objecting despite
admitting that “this Settlement could bc approved under current Sixth Circuit law.”); Dewey v.
Volkswagen ofAn/z., 728 F. Supp. 2d 546, 575 (D.N.l. 2010) (describing Frank as a “professional
objector” of which “federal courts are increasingly weary”).7

ln furtherance of the goal of stifling class action litigation, CCAF (or CEl) has filed
objections in over 85 class action settlements over the past nine years ln a phone call with the
Court on l\/lay 15, 2018, l\/ls. St. lohn proudly proclaimed that CCAF would file even more
objections to class action settlements but for a dearth of resources ln an ironic twist_, CCAF’s
crusade against class action litigation is largely fueled by its own employees regularly “pitching
in” and serving as objectors with l\/ls. St. John and l\/lr. ll rank repeatedly acting as objectors See
St. John Decl. 84 (Dkt. No. 800) and Frank Decl. jill (Dkt. No. 799) (showing that St. John
objected or represented objectors to 9 settlementsj and l'"rank objected or represented objectors to
90 settlements). The Frank Decl. reveals that CCAF has represented their own employees-or
relatives~-~-on at least 44 separate occasions This includes objections from CCAF attorneys 'l`ed
Frank (23 objections), Anna St. John (4 objections), l\/lelissa Holyoak (4 objections), Adam
Schulman (3 objections), Daniel Greenberg (3 objections), and Frank Bednarz (2 objections), as
well as CEI employees Sam Kazman (3 objections), John Berlau (l objection), Ryan Radia (1
ebjection), lier Smith (l obj ection), and Frances Smith (1 objection). lcl. lt also includes relativcs,
such as loshua l~lolyoak (an apparent relative of Melissa l»'lolyoak, who objected twice) and

Merideth Halsey (the wife of CCAF employee Frank Bednarz, who objected onee). Apparently,

 

7 See also ln re C)nline DVD-Renial Anl‘itrusi Litig., 779 F.3d 934, 943 n.5 (9th Cir. 2015) (“we
reject [CCAF’s] arguments that the attorneys’ fees in this case are unreasonable or over-inflated”).
See similarly Blessing v. Sirias XMRaa’io Inc_, 507 F. App’x 1, 5 (2d Cir. 2012); Tro)nbley v. Nar ’l
Ciiy Bank, 826 F. Supp. 2d 179, 205 (D.D.C. 2011).

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 17 of 40

attorney-driven litigation is acceptable to CCAl" as long as it is used to deprive class members of
their rightful recovery

Further testing the bounds of irony, CCAF has been less than candid regarding its receipt
of attorneys’ fees relating to its serial objections Ms. St. John sanetimoniously professes that
CCAF is representing l~'laynes on a pro bono basis in this action. (ECF. No. 797 at 2). Yet,
paragraph 3 of CCAF’s retainer agreement with Haynes specifically allows CCAF to seek
attorneys’ fees with respect to its representation Similarly, in at least twelve other federal cases
CCAF purported to be working on a pro bono basis, but actually sought and received attorneys’

8

fees in those cases The term “pro bono” is not subject to ambiguity: it means “without

compensation.“"’9

The suspect nature of CCAF’s modus operandi is highlighted by the language of the
retainer agreement with l\/lr. Haynes (“Retainer Agreement”), which appears to be a form letter
that CCAF commonly uses See Gilinore Decl. Ex. B (footer stating “Revised 7/8/2015” in
Haynes’ retainer letter executed l\/lay 10, 2018). As explained in Plaintiffs’ letter to the Court
dated l\/lay 24, 2018, the Retainer Agreement subordinates the objectors’ own interests to those of
CCAF (as mentioned above, sometimes CCAF uses its own lawyers to serve as objectors) and
violates basic standards of professional responsibility Among other things, its provisions clearly
conflict with the “client’s” absolute right to make decisions whether to settle and appeal the matter;

moreover, the “client” is forced to acknowledge that by filing the objection (and possibly appeal),

lie/she might be acting adverse to its interests as a class member by delaying the settlement See

 

8 See Deelaration of Emma Gilmorc in support hereof (“Gilmore Decl.”) Exh. A.
9 Black's Law Diclionary (10th ed. 2014) (defining "pro bono" as "Uncompensated, esp. regarding
free legal services performed for the indigent or for a public cause").

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 18 of 40

D.C, Rules of Prof`. Resp., R,ule 1.2(a); N.Y. Rules of Prof. Conduct, Rule 1.2(a); New York
County (N.Y.`) Ethics Op. 699 (1994).

ln his Supplcmental Deelaration (l)kt. No. 819), Haynes admits that his companies are
long-standing donors to CEl and that he has earned substantial consulting fees from the
organization Haynes claims that the catalyst for his objection is the “keen[] interest in the
financial affairs of [his] children’s trusts and in assuring that any losses those trusts may have
suffered . . . is [sicj fully redressed,” but those losses only amount to $66 in damages-a pittance
that pales in comparison to what l~laynes has made in consulting fees from CEl. Haynes obviously
has a significant motive in objecting to this settlement to assist in his “fundraising” efforts for CEl,
and potentially receive additional lucrative consulting fees

l\/loreover, CCAF’s attack on class eounsel’s fees is not made in good faith. CCAF has in
the past sought outrageous hourly rates of 82,865 and a 5.97 multiplier of its lodestar in attorneys’
fees Plaintiffs’ ()pposition to Objector Amy Yang’s l\/lotion for Attorneys’ Fees at 2, ln re
Transpacifzc Passenger Air lransp. Aniiirast Liiig., No. 07-ev-05634-CRB (N.D. Cal. July 13,
2015), ECF No. 1033. These bloated requests pale in comparison to the highest hourly rate of
81,000 (ECF No. 789-23) and the mere 1.78 multiplier requested here by Class Counsel. 'l`he
scores of objections made by CCAF to class action settlements on behalf of its ready stable of paid
employees masquerading under the bait ofpro bono representation that is promptly Switched to
requests for attorneys’ fees at inflated billing rates and even more inflated multipliers, smacks of
an unprecedented abuse of the judicial process and violates Rule 11.

B. Joseph Gielata Has A Colorful Past And Has ()pposed ()ther Mega-
Settlements To Extract Payments

Joseph Gielata is the son of Objectors Richard and Emelina Gielata, who purchased 500

shares during the Class Period and have losses of approximately 8660. Joseph Gielata, a “retired”

10

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 19 of 40

attorney, disclosed that he is the drafter of his parents’ objection Joseph Gielata has a colorful
past which includes an arrest in Delaware and charges on July 25, 2005, for multiple counts of
theft, including felony theft, and conspiracy in the second degree, a felony; a guilty plea on l\/Iay
9, 2006, to misdemeanor theft in exchange for dismissal of the remaining charges; and a public
reprimand by the Supreme Court of Delaware in 2007. ln re Gielala, 933 A.2d 1249 (Del. 2007)
(reprimanding Gielata for his role in a scheme in which he tried to take advantage of PayPal’s
money~back guarantee by using sham transactions). ln connection with the public reprimand, the
Panel of the Board on Professional Responsibility found that Joseph Gielata violated the following
Delaware Lawyers’ Rules of Professional Conduct: Rule 8.4(b) re Gielata “committed a criminal
act that reflects adversely on his honesty and trustworthiness"’; Rule 8.4(c) - Gielata “engaged in
conduct involving dishonesty, fraud, deceit, and misrepresentation”; and Rule 8.4(d) \ Gielata
“engaged in conduct that is prejudicial to the administration ofjustiee.” ld.

On August 3, 2010, Joseph Gielata, on behalfof his father, R,ichard Gielata, filed a federal
class action for breach of fiduciary duty, breach of contract, as well as other claims against Grant
& Eisenhofer P.A. (“G&E”), a securities litigation firm, and Jay Eisenhofer, G&F,’s Managing
Director. The claims arose from the attorneys’ fees awarded by the court to G&E in ln re Tyco,
lni’l, Lra’. Muliialisirici Liiigaiion (D.N.H. Aug. 23, 2002), in which G&E represented two public
pension funds as co-lead plaintiffs in a securities class action that settled for 83.2 billion in 2007.
See Gielaia v. Eisenhofer, No. 10-cv-00648~GMS (D. Del. Aug. 3, 2010). The case was eventually
transferred to the District of New Hampshire, and on November 30, 2012, Richard Gielata filed a
notice of voluntary dismissal with prejudice Gielaia v. Eisenhofer, No. 11-cv-442-PB (D.N.H.

Nov. 30, 2012), ECF No. 92. " l l

 

11

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 20 of 40

 

. See Gilmore Decl. Ex. C. Apparently,

  
 

v ' " than to commit petty theft against Paypal.

C. Joshua Furman ls A Serial Objector

Mr. Furrnan appears to be a part of a “cabal” of objector attorneys who represent each other
as objectors in class action settlements in order to earn fees for one another. ln one case, l\/lr.
Furman represented l\/lr. Jon Zimmerman, another attorney who represents objectors in connection
with his objection and appeal in the Google Bazz Privacy Liiigaiion. See ln re Google Buzz
Privacy Liiig. , No. 1 1-16642 (9th Cir. July 7, 201 1). l\/lr. Furman and l\/lr. Zimmerman also worked
together as counsel for an objector in Pappas v. Nakea1 Jaice Co. ofGlendora, No. 14-55023 (9th
Cir. Jan. 7, 2014). Appeals in these actions were voluntarily dismissed with no benefit to Class
members Mr. Furman also represented another objector, Barbara Cochran, a relative of another
well-known attorney for objectors, l\/lr. Edward F. Cochran, in TFT-LCD (Flal Panel) Antitrasi
Lilig., No. l\/_l 07-1827, 2013 U.S. Dist. LEXIS 9904, at *36 (N.D. Cal. Jan. 23, 2013). Edward
Coehran has been described by courts as a “remora[]’ who “contributed nothing” of value with his
“laughablc” objections and whose only “goal was, and is, to hijack as many dollars for [himself]
as [h]e can wrest from a negotiated settlement.” ln re UniieclHealilz Grp. lnc. PSLRA Liiig., 643
F. Supp. 2d 1107, 1108-09 (D. l\/linn. 2009) (Edward Coehran represented the objector as co-
counsel with lohn Pentz, described below). burman has appeared for objectors in other cases that
failed to yield a successful result for class members See, e.g., ln re Paylneni Card lnterchange
Fee & Merchanl DiscouniAnlitrasr Lirig., No. 05-md-1720 (E.D.N.Y Oct. 20, 2005) (attorneys’
fees denied); Roa'rigaez v. W. Publ ’g Corp., No. 05-ev-3222 (C.D. Cal. Apr. 29, 2005) (objections
overrruled, and subsequent motion for attorneys’ fees denied by district court); Zhang v. E”‘Traa’e
Fin_ Corp., No. 13221098 (Cal. Ct. App. 2d Dec. 21, 2009) (appeal apparently abandoned);

Schlesinger v. Ticketrnasier, No. BC304565 (L.A. Super. Ct.) (objectors’ fees denied); ln re Online

12

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 21 of 40

DVD Renial Aniii’rusl l,itig. , No. 09-md-2029 (N.D. Cal.) (appeal denied); ln re Aniination
Workers Aniiirust Liiig. , No. 14-cv-04062 (N.D. Cal.) (objections voluntarily dismissed).

Mr. Furman also works with another well-known serial objector attorney, l\/lr. .lohn Pentz,
who filed a pro hac vice motion in this case on behalf of Annc Cochran (wife of Edward Cochran),
but ultimately opted not to file an objection on her behalf upon advance receipt of subpoenas from
class counsel Pentz also represented Barbara Cochran along with l"urman in the TFT-LCD case
discussed above. Judge Scheindlin found that l\/lr. Pentz, a “serial objector,” engaged in “bad faith
and vexatious conduct” and granted plaintiffs’ motion to require him to post an appeal bond in ln
re Inil‘ial Pablic Offering Sec. Liiig., 721 F. Supp. 2d 210, 212, 215 (S.D‘N.Y. 2010). Pentz is
recognized outside this District as a “professional and generally unsuccessful objector.” See ln re
lioyal AlzoldN V. Sec. & ER[SA Liiig., 461 F`. Supp. 2d 383, 386 (D. l\/ld. 2006).

Pursuant to a Court order, Furman n

 

 

 

See Gilmore Decl. Exhs. D, E.

l\/loreover, Furman’s arguments are largely incomprehensible and/or baseless For
example, he contends that the plan of allocation was not provided on the settlement notice website,
but this is simply not true. The plan of allocation is part of the Notice of Settlementj which has
been and continues to be available at http://www.petrobrassecuritieslitigation.eom/docs/LFN.pdf,
starting with page 11 and includes multiple exhibits and tables, spanning over 15 pages burman

also improperly accuses Class Plaintiffs of trying to mislead the Court and investors by supposedly

13

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 22 of 40

concealing the blow provision because it would have showed lower damages Not true. The 8830
million represents 5% of 816 billion, which is the damages estimate provided by Dr. Nye and is
set forth in Class Counsel°s l\/lotion for an Award of Attorneys’ Fee and Rreimbursement of
Litigation Expenses, Dkt. No. 792 at 15. Furman also incomprehensibly argues that a “fund-
sharing scheme” is illegal, but there is nothing illegal about creating a settlement fund for
distribution Rule 11 requires that all papers submitted to the Court be made “after an inquiry
reasonable under the circumstanccs” and not be made “for any improper purpose.” Furman’s
papers were either indiscriminately cut and pasted or were drafted without an iota of thought
Either scenario would violate Rule 11.
III. The ()bjections Are Meritless

Haynes argues that the Class cannot be certified because (l) there exists an “intraelass
conflict” between purchasers of Petrobras securities in domestic transactions and those who
purchased Petrobras securities in foreign transactions; and (2) determining whether a transaction
is domestic involves “individualized locational evidence” failing to satisfy Rule 23(b)(3)’s
predominance requirement The Gielatas contend that the Settlement should not have included
any dismissed claims (Dkt. No. 813 at 1-9). These arguments should be rejected

A. The Morrison Objection Should Be Rejected

Hayncs and the Gielatas take issue with the “inclusion of meritless claims” in the
Settlement, i. e., of transactions that settled or cleared at DTC. (ECF No. 797 at 6; ECF No. 813 at
1-4j 7). This Court dismissed claims on Morrison grounds based on the allegation that the purchase
or sale was cleared through the DTC, so it is possible that certain transactions encompassed in the
definition of the released claims include claims that may not have satisfied Morrison. But as
explained in Plaintiffs’ opening brief for Final Approval of Settlement, the merits of the claims

involving DTC transactions are irrelevant for settlement purposes and courts regularly approve

14

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 23 of 40

settlements that allocate funds to claims that were dismissed from the action See Opening Br. at
23-24, citing, inter alia, ln re Am. lni'l Grp, Sec. Liiig., 689 F.3d 229, 242-44 (2d Cir. 2012)
(holding that a settlement may include claims “even if a court believes that those claims may be
meritless, provided that the class is properly certified under Rules 23(a) and (b) and thc settlement
is fair under Rule 23(e)”); Sullivan v. DB lnvs., ]nc., 667 F.3d 273, 310-ll (3d Cir. 2011) (holding
that assessing the merits of settled claims “would effectively rule out the ability of a defendant to
achieve ‘global peace’ by obtaining releases from all those who might wish to assert claims,
meritorious or not”). lndeed, claims can be released by class settlements if they “share the same
integral facts” or “a realistic identity of issues,” even if those claims were not and “could not have
been” pleaded in the settled class action See Wal-ll/farlv Stores, lnc., 896 F.3d at 106-07 (quoting
TBK Pariners, Lta'. v. W. Union Corp., 675 F.2d 456, 461 (2d Cir. 1982), in which federal court
approved settlement releasing previously-dismissed state court claims arising from same facts).
What matters is the nature and extent of the factual overlap. Here, the Settlement releases claims
arising from the “identical factual predicate” ofthe Action. At a minimum, that factual predicate
includes Defendants’ rampant money-laundering and kickback scheme and centers upon the
dizzying number of false and misleading statements made by Defendants during the Class Period,
as well as the purchase of securities pursuant to Covered Transactions during the Class Period.
Plaintiffs also explained that the recent Second Circuit decision in Choi v. Tower Researclz
Capiial LLC, No. 17-cv-648 (2d Cir. l\/lar. 29, 2018), appears inconsistent with the Second
Circuit’s Morrison application in In re Peirobras Securiiies Liz‘igarion, 862 F.3d 250 (2d Cir.
2017), raising the specter of a meritorious motion for reconsideration or appeal (ECF. No. 790 at
23-24). Choi held that the fact that transactions placed on a Korean exchange were afterwards

electronically matched with counterparties on a platform in the United States was sufficient to

15

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 24 of 40

trigger domesticity under Absoliae Acrivisz‘ Valae Master Fand Lid. v. Ficeto, 677 F.3d 60 (2d
Cir. 2012). A similar matching process occurs in every DTC transaction in New York10 but this
Court held that such “mechanics” are “actions needed to carry out transactions involv[ing] neither
the substantive indicia of a contractual commitment necessary to satisfy Absolaie Aciivist‘s first
prong nor the formal weight of a transfer of title necessary for its second.” (ECF. No. 374 at 10).

Defendants in class action litigation invariably seek a global release that eliminates their
risk of future exposure under all potential claims arising from a common nucleus of operative facts
and transactions See Joseph M. l\/chaughlin, McLaaghlin on Class Aci‘ions.' Law and Practice
141 § 6;28 (5th ed. 2009) (observing that “a settlement is ordinarily impractical unless it covers
all claims, actual and potential, state and fcderal, arising out of the transaction [1 at issue."`°). Here,
Class Counsel negotiated the largest securities class action settlement in a decade and the fifth-
largest class action settlement ever achieved in the United States. lt is unlikely that such a
blockbuster settlement would have been reached if the DTC-settled claims were not released
lndeed, a settlement might not have been reached at all.

While the law is clear that the Settlement can release dismissed claims, the crux of
Haynes’s argument is that the plan of allocation is improper. But the Court can approve thc
Settlement without approving the plan of allocation (ECF No. 767-1, ljl23). ln any event, there
simply is no good reason to reject the plan of allocation Hayncs acknowledges that “[t]he release
of claims arising from foreign transactions might command some settlement value,” but contends
that these claims should be assigned less value than the claims based on domestic transactions

(ECF 797 at 7-8). Haynes asserts that “the proper valuation” of the foreign transactions claims

 

10 See B. l\/lorris and Stuart Z. Goldstein, Guide lo Clearance and Seirlenieni, An lnirodaclion to
DTCC, at 2 (“DTCC uses a sophisticated infrastructure of physical equipment, software programs,
and risk management systems to deliver essential services, including trade matching . .”).

16

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 25 of 40

“should have been tested through arms-length negotiation by separate representatives.” ]d. at 7.
But Lead Plaintiff USS, who purchased Petrobras ADSs, had its claims based on Note purchases
that settled at DTC dismissed (ECF No. 374 at 9-12), so Class Counsel had every incentive to
maximize the value of the Settlement. “The adequacy inquiry under Rule 23(a)(4) serves to
uncover conflicts of interest between named pariies and the class they seek to represent.” Arnclieln
Prods., lnc. v. Windsor, 521 U.S. 591, 625 (1997) (emphasis added) (assessing conflict based on
divergence of interests of “the named plaintiffs” from class members with different claims).
Additionally, while this Court held that clearance or settlement at DTC is insufficient on
its own to satisfy Morrison’s domestic transaction prong, it is highly likely that most of the
transactions in the Notes were domestic Objeetors Haynes and the Gielatas never even attempt
to quantify thc purported dilution to their recovery. See Cobell v. Salazar, 679 F.3d 909, 437-38
(D.C. Cir. 2012) (rejecting similar arguments made by attorney f`rank, who represents objector
Haynes here, that an infra-class conflict exists and that the Settlement allocates more to dismissed
claims). fn fact, a sampling of the Notes reveals that approximately 70% of the top Petrobras
bondholders during Q4 2014 are U.S.-based institutional investors See Gilmore Decl. Ex. 1111
Aceording to the classical axioms of probability formulated by A. N, Kolmogorov, as well as
Bayes’ Theorem (see 1 Alan Stuart and J. Keith ()rd, Probabiliiy and Siaiistical
_lnference, Kendall ’s Advanced Theory ofSiatisiics 288-90, (6th ed.1994), if U.S. investors held
70% of the Petrobras bonds during the Class Period, the conditional probability of any given trade

involving a U.S. investor (on at least one side of the trade) increases to approximately 91%.12

 

ll Chart showing range of quarterly holdings of Petrobras bonds with CUSIP numbers
71645WAN, 71647NAl\/1, and 71645WAP (source: Bloomberg Terminal).

12 The Second Circuit defines irrevocable liability in the alternative, meaning a plaintiff may
“allege facts leading to the plausible inference that . . . the purchaser incurred irrevocable liability

17

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 26 of 40

Morcover wherc, as here, U.S. brokers facilitated the transactions in the Notes, either on
behalf of the seller or the purchaser, Morrison is satisfied See US. v. Georgiou, 777 F.Sd 125,
135 (3d Cir. 2015) (“somc of the relevant transactions required the involvement of a purchaser or
seller working with a [U.S.] market maker,” satisfying Morrison) (ernphasis added).13 DTC,
through its affiliate, the National Sccuritics Clearing Corporation, is the “leading provider of U.S.
clearance, netting, risk management and settlement for virtually all US. broker~to~broker trades
involving equities, corporate, and municipal debis[.j” See Consolidatcd Annual Financial
Statements for 2013 and 2014 of DTCC, at 38, The DTC is credited with attracting the flow of
investment capital to the U.S., indicating that most D'l`C~related trading activity actually occurs in
the U.S. See Guia’e to Clearance & Seitlement, an Introa’uciion to DTCC, Supra n.S, ECF. No.
353~2, at l, 18. As DTC itself recognizes, institutions deposit securities at DTC in New
York. ECF. No. 293-02, at 9-10. Thus, by using DTC, the brokers involved in the Notes
transactions had an account set up at DTC, where money changed hands. Courts have held that
the exchange of money in the U.S. supports domesticity. See, e. g. , Absolul‘e Aciivist, 677 F.Bd at
70 (facts concerning the “exchange of money” relevant to domesticity); Cz`iy of Ponliac
Policernen ’s &Firemen ’s Ret. Sys. v. UBSAG, 752 F.3d 173, 181 n.33 (2d Cir. 2014) (same); U.S.
v. Vilar, 729 F.Bd 62, 78 (2d Cir. 2013) (“[F]acts concerning the formation of the contracts and the
exchange of money . . . are precisely the sort that we indicated may suffice to prove that irrevocable

liability was incurred in the United States.”); see Sz`mz`larly Georgiou, 777 F.3d at 136; SEC v.

 

within the United States to take and pay for a security, or that the seller incurred irrevocable
liability within the United States to deliver a security.” Absoluie Activist, 677 F.3d at 68 (emphasis
added).

13 ln the context of over~the-counter transactions, a market maker, which “facilitates trading in a
stock,” is the equivalent of a broker-dealer. Icl. at 131 n.7 (citing 15 U.S.C, §78c(a)(38)); 78c(a)(4),
(5))-

18

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 27 of 40

Ahmed, No. 15~cv»675, 2018 Wll 1585691, at *22 (D. Conn. Mar. 29, 2018).

These and other realities demonstrate that the plan of allocation is fair and reasonable See,
e.g., Snllivan, 667 1"".3d at 236~27 (rejecting objectors’ arguments that differences in state laws
(some of which may have precluded recovery) mandated a differential allocation in the percentage
of recovery of class mcmbers, and noting with approval the District Court’s reasoning that “there
were no intra-class conflicts since all putative members experienced injury caused by [dcfendant],
all sought recovery for overpayment caused by allegedly anticompetitive behavior, and all shared
common interests in establishing damages . . . ”); ]n re Cendani, 264 F.3d at 250 (“wc are chary
of holding that the respective legal strengths of the § 10(b) and § ll claims involved here should
have been factored into the fairness of the settlement determination This would be a speculative
enterprise at best, and the differences in strength of these claims” do not warrant a differential plan
of allocation); Roa’riguez v. W. Publ ’g Corp., 563 F.3d 948, 961 n.6 (9th Cir. 2009) (rejecting
obj ectors’ argument that “an intra-class conflict exist[ed] based on speculation that the statute of
limitations and tolling principles would allow only a subclass to pursue the section 7 [of the

Clayton Act] claim.”). 14 Here, weighing distribution for the relevant Petrobras Notes would have

 

14 See similarly In re VeriFone Holdings, lnc. Sec. Liiig., No. C-07~6l40 El\/IC, 2014 U.S. Dist.
LEXIS 20044, at *13-15 (N.D. Cal. Feb. 18, 2014) (granting final approval of the settlement
agreement, “which contains a release of claims of all investors, foreign or domestic, irrespective
of whether Morrison applies,” where plan of allocation did not treat domestic and foreign
purchases differently); In re APA Assess)nenr Fee Lz`z‘z'g., 311 F.R.D. 8, 20-21 (D.D.C. 2015)
(reasoning that Rule 23 requires a settlement to be “fair, reasonable, and adequate-~not ideal,” and
concluding that, while “there will also be some dilution with respect to the stronger claims and
over~recovery on the weaker ones . . . the Court does not think any dilution here is great enough
to impugn the overall fairness of the settlement.”); All Ina’z`rect Purchaser Actions v. [nfzneon
Techs. AG (]n re Dyna)nic Rana’om Access Memory Anl`il`rust Litig.), No. l\/l~02-l486-PJH, 2013
U.S. Dist. LEXIS 188116, at *320-23 (N.D. Cal. Jan. 7, 201 3) (observing that “not every difference
in position between settlement class members requires the creation of a formal subclass,” and
holding that “any weighted distribution plan would unduly complicate and prolong the settlement
approval process and invite appeals in this litigation [and] may ultimately turn on subjective

19

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 28 of 40

been entirely subjective, unreliable, and imprecise at best. lt would also have had the effect of
unnecessarily complicating the claims process to a high degree, requiring the claims administrator
to undertake a painstaking analysis of each Note transaction to weigh whether or not said
transaction meets the criteria set forth in Absoluie Acrivisi. The Court-appointed Claims
Administrator, the Garden City Group, has confirmed that such a process, while feasible, would
bc both timely and costly, dctracting from the recovery to Settlement Class l\/fembers and delaying
the distribution of the Settlement.15

Additionally, Defendants here waived any Morrison challenge for settlement purposes,
placing domestic and foreign purchasers on equal footing "`lt is well-settled that non-jurisdictional
arguments and defenses may be waived.” Young v. Conway, 715 F.3d 79, 85 (2d Cir. 2013). The
U.S. Supreme Court specifically addressed whether a potential extraterritorial application of
Section 10(b) creates a jurisdictional problem and held that it does not. Morrison v. Naz"l Ansrl.
Bank Lra’., 561 U.S. 247, 254 (2010). I*Iere, the settlement agreement defined the settlement class
to include people who purchased bonds listed on the NYSE or settled on DTC. By signing it,
Defendants waived any Morrison defense for settlement purposes fn fact, they acted affirmatively
to include those investors in the Class. Once Defendants waived their Morrz'son argument for
settlement purposes, it was appropriate to treat all investors the same See Sullivan, 667 F.3d at

302-03, 307 (rcj ecting intra-class conflict of interest obj ections as “besidc the point,” because even

though they raised questions about some class members’ standing to recover at all, the issue “is

 

views as to the relative merits of the totality of a class member's released claims, and spawn an
ancillary round of litigation among class member objectors about who should get how much and
on what basis.”)i

15 See Supplemental Deelaration of Niki L. Mendoza Regarding Class Notice, Exclusion Requests,
Obj ections, and Claims Received to Date (“Mendoza Decl.”) 11‘1]17-20_, Gilmore Decl. Ex. G.

20

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 29 of 40

not jurisdictional” and “is simply another element of proof for an antitrust claim, rather than a
predicate for asserting a claim in the first place,” and observing that the fact that defendant agreed
to settle those state law claims “marginalizes the objectors’ concern that Statc law Variations
undermine a finding of prcdominance.”) (emphasis added); fn re Aeina UCR Liiig., No. 07-cv-
3541, 2013 WL 4697994, at *8 (D.N.J. Aug. 30, 2013) (rejeeting argument that the proposed class
representative was inadequate because “he did not exhaust his administrative remedies” as “0f no
moment here, where a majority of the absent class members have likely not sought thc appropriate
administrative remedies and because Aeina has waived certain defenses including exhaustion in
the spirit of settlement.” (emphasis added).

The plan of allocation was prepared by Class Counsel with input from Class
Representatives’ damages expert, an economist who specializes in plans of distribution in class
settlements ln assessing a proposed plan of allocation, courts give great weight to the opinion of
informed counsel See, e.g., ]n re FLAG Telecom Holdings, le Sec. Lilig., No. 02-cv-3400, 2010
WL 4537550, at *21 (S.D.N.Y. Nov. 8, 2010) (the conclusion of “experienced and competent
counsel . . . that the Plan of Allocation is fair and reasonable is . . . entitled to great weight”); ln re
EVCI Career Colls. Holding Corp. Sec. Liiig., No. 05-cv-l0240, 2007 WL 2230177, at *11
(S.D.N.Y. July 27, 2007) (“In determining whether a plan of allocation is fair, courts look primarily
to the opinion of counscl.”) Courts also consider the Class’s reaction to a proposed plan of y
allocation llere, the fact that the only two objections to the plan of allocation were made by
objectors whose motives are to advance their own interests rather than to protect the hundreds of
thousands of Petrobras shareholders, demonstrates the Settlement Class’s overwhelming approval
ofthe plan. See, e.g., In re EVCI, 2007 WL 2230177, at *11 (courts should “consider the reaction

of a class to a plan of allocation”); Maley v. Del Glob_ Techs. C()rp., 186 F. Supp. 2d 358, 367

21

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 30 of 40

(S.D.N.Y. 2002) (“the favorable reaction of the Class supports approval of the proposed Plan of
Alloeation”). ln grating preliminary approval, the Court approved the plan of allocation set forth
in the Notice. (ECF No. 770). There is no reason to do a one-eighty.

l`he cases on which Haynes relies for the proposition that subclasses with different
representation were required for those who purchased Notes in domestic versus foreign
transactions (ECF. No. 797 at 7-8) are easily distinguishable ln ]n re Payment Card ]nierchange
Fee & Merchani Discount Aniiz‘rusz‘ Liiigaiion, 827 F.3d 223, 233-34 (2d Cir. 2016), the same
class counsel sought to represent two settlement classes with starkly distinct interests: one class
sought damages under Fed. R. Civ. P. 23(b)(3) for past harm, while the other sought injunctive
relief under Rule 23(b)(2) for future harm (“[t]he former would want to maximize cash
compensation for past harrn, and the latter would want to maximize restraints on network rules to
prevent harm in the futurc”); see also id. at 232 (“‘ [ljt is obvious after /lmchem that a class divided
between holders of present and future claims . . . requires division into homogen[e]ous subclasses
. . . with separate representation.”’) (quoting Orl`iz v. Fibreboard Corp., 527 U.S. 815, 856 (1999)).
ln stark contrast, the Settlement Class here seeks damages for past harms, and there is no need
whatsoever to separate the Class. See lohn C. Coffee, Jr., Class Aclion Accouniabiliiy.'
Reconeiling Exil, Voice, and Loyally in Representaiive l/iiigal‘ion, 100 Colum. L. Rev. 370, 398
(2000) (“lf subclassing is required for each material legal or economic difference that distinguishes
class members, the Balkanization of the class action is threatened Such a fragmented class might
be unmanageable, certainly would reduce the economic incentives for legal entrepreneurs to act as
private attorneys general, and could be extremely difficult to settle if each subclass (and its
attorney) had an incentive to hold out for more.”). Moreover, in ]nrerchange and Orz‘iz, class

members had no ability to opt out. See Interchange, 827 F.3d at 234 (“The trouble with unitary

22

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 31 of 40

representation here is exacerbated because the members of the worse-off [Rulc] (b)(2) class could
not opt out.”); Orl‘iz, 527 U.S. at 846-47 (members of Rule 23(b)(1) class have no opportunity to
opt out). 'l`his factor creates no impediment here, where class members are free to (and have) opted
out, and all Settlement Class l\/fembers have purchased and sold the same set of securities during
the Class Period.

B. Haynes’s Objection That The Settlement Class Cannot Satisfy
Rule 23(b)(3)’s Predominance Requirement ls Meritless

Haynes argues that determining domesticity involves individual questions, hence a
Settlement Class is impossible to certify for lack of predominance (ECF No. 797 at 9-11). But
in fact, the inclusion of transactions that settled or cleared at DTC eviscerates any obstacles to
predominance as well as any individualized issues with respect to those Notes. l\/loreover, as
explained in Plaintiffs’ briefs supporting preliminary and final approval of the Settlement (ECF
No. 766 at 19-24; ECF No. 790 at 13-14), Plaintiffs have demonstrated that the issues subject to
generalized proof (i.e., where liability turns primarily on whether Defendants made false and
misleading statements and omissions) outweigh those issues that are subject to individualized
proof. See ln re Petrobras, 862 F.3d at 274 n.27 (recognizing that even if the Morrison
determination may involve individualized issues, common issues can still predominate); Green v.
WolfCorp., 406 F.2d 291, 299-301 (2d Cir. 1968) (individual issues predominate where certain
misrepresentations and omissions “are common to all . . . prospectuses,” the fraudulent background
is common to all those who might have been injured, and proof of intent by a defendant to
manipulate is an element of the claim); see also ECF No. 790 at 22 n.8) (collecting cases); see
similarly Sullivan, 667 F.3d at 299-302 (predominance met due to the extent of common questions:
“the answers to questions about De Beers’s alleged misconduct and the harm it caused would be

common as to all of the class members, and would thus inform the resolution of the litigation if it

23

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 32 of 40

were not being settled”; variations in state law did not defeat predominance because they “likely

55

fall into a handful of clearly discernible statutory schemes, still allowing the class action to
proceed efficiently under a variety of precedents). Critically, thc Second Circuit recognized that
Plaintiffs “may assert class claims in connection with foreign-issued securities that do not trade on
a domestic exchange” under a “wide range of conceivable circumstances.” Perrobras, 862 F.3d
at 275 n.27. llor example, “Class plaintiffs may propose a mechanism for assembling a
representative sample of the manner in which a given security will tradc, with an emphasis on the
domesticity factors highlighted in Absolule Acrivisr.” ]d. Accordingly, it was possible---but
unnecessary"-for the Plaintiffs to propose, and for the Court to certify, subclasses16
IV. T he ()bjectors’ Remaining Argumcnts Are Meritless
l. The Fee Request

Haynes, the Gielatas, and Bueno claim that the fee requested by Class Counsel is excessive
Some or all of them complain that Class Counsel’s lodestar is overstated because it improperly
includes Brazilian attorneys and that the contract attorney rates are “exorbitant.” (Dkt. No. 797 at
18; Dkt. No. 813 at 17-18). As Class Counsel explained in detail in their letter to the Court on
May 18, 2018, and in the Lieberman Decl. Dkt. No. 789 11361, the lodestar is reasonable and
justified See ECF. No. 814, incorporated herein by reference llaynes and the Gielatas also attack

the 1.78 multiplier and argue that the percentage of the recovery should be much less than the 9.5%

of the settlement fund negotiated by Lcad Plaintiff before the litigation began (Dkt. No. 797 at

 

16 Such subclasses could have included, for example, the following permutations based on common
indicia of domesticity: (i) transactions where a purchaser/its agent/investment manager/anyone
else acting on its behalf contracted in the US to purchase the Notes; (ii) transactions where a
seller/its agent/investment manager/anyone else acting on its behalf contracted in the U.S. to sell
the Notes; (iii) purchases in the lPO from U.S. underwriters; (iv) transactions where the
counterparty or its representative was located in the 118 when it agreed to sell the class member
(or its broker or intermediary) the security, and the transaction was made in U.S. dollars; and (v)
transactions that cleared or settled at DTC.

24

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 33 of 40

19-23; Dkt. No. 813 at 8). But, as demonstrated at length in Class Counsel’s opening papers, the
fee percentage falls roughly in the middle of the range of percentages awarded in class actions where
recovery exceeds 81 billion (with fec awards in the range of 1.7% to 3'1.3%) and, assuming the fee
request in the Foreign Exchange Action is granted, it would represent the fourteenth largest percentage
award out of twenty-nine $1-billion-plus recoveries Dkt. No. 792 at 4.

2. Cy Pres

Haynes attacks Plaintiff`s’ cy pres selection, but the “trigger point” for considering cy pres
has not been reached See Rodriguez, 563 F.3d at 966 (stating that cy pres “becomes ripe only if
the entire settlement fund is not distributed to class members.”). At this stage of the settlement,
disbursement from the settlement fund is not imminent and the amount potentially remaining in
the settlement fund is unknown l\/loreover, any cy pres award recipients are subject to court
approval Dkt. 767-10‘1[34.

3. Breakdown of Lodestar

llaynes demands that Class Counscl submit a breakdown of the lodestar (ECF No. 797 at
17~18), despite the fact that such a breakdown is not required by Goldberger v. Inregraied
Resources, Inc., 209 F.3d 43, 48-50 (2d Cir. 2000), which states that where, as here, the lodestar
is “used as a mere cross-check” to a percentage calculation, “the hours documented by counsel
need not be exhaustively scrutinized by the district court.” See also [n re ]ns. Brokerage Aniirrusl
Lirig., 579 F.3d 241, 281 (3d Cir. 2009). Here, Class Counsel did provide the Court with each
time entry and a 38-page rebuttal letter to the issues raised by Defensc Counsel, as well as a line-
by-line rebuttal to over 17,000 entries questioned by Defensc Counsel. (ECF. No. 814).

V. Additional Responses Concerning Fees

Class Plaintiffs respectfully submit this response to the Motions of Wolf Popper Ll,P

(“Wolf Popper”) and their Brazilian Counsel, Almeida Advogados (“Almeida”), Kahn Swick &

25

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 34 of 40

Foti l,LC (“KSF”) and Bernstein Litowitz Berger & Grossman LLP (“BLBG’s”) for an award of
attorneys’ fees and reimbursement of expenses

1. Wolf Popper & Almeida’s Motion

Wolf Popper & Almeida collectively request 8307,629 in attomeys’ fees and
reimbursement of 81,219.66 in expenses l\/lem. in Supp. of l\/fot. for an Award of Attorneys’ Fees
& Reimbursement of Expenses to Counsel Filing the lnitial Kaltman Action, at l (Apr. 20, 2018),
ECF No. 778. With respect to attorneys’ fees Wolf Popper submits a lodestar of 8107,629
primarily, for its work in filing the first filed complaint in this Action, Kaliman v. Peiroleo
Brasileiro S.A. _ Peirobras, ei. al., and its filing of the first publication notice pursuant to §
2lD(a)(3)(A)(i) of the PSl/RA (“PSLRA Notice”), which triggered the deadline for putative class
members to file motions for appointment as lead plaintiff Decl. of Chet B. Waldman, at 11113-6,
11 (Apr. 20, 2018), ECF No. 779. Almeida submits a lodestar of 8220,199.98 in support of its
l\/fotion, which it states reflects thc firm’s assistance in working with Wolf Popper to draft the
Kalrman complaint, including investigating the news reports and publicly available information
regarding the Lavo Jato investigation Decl. of Andre de Almeida Rodrigues, at 1112-4 (Apr. 20,
2018), ECF No. 780.

With respect to their request for reimbursement of expenscs, Wolf Popper and Almeida
seek reimbursement of 81219.66 in costs for their filing fee, press release the PSLRA Notice and
online research Class Plaintiffs believe that this l\/lotion is reasonablej and that the requested fees
and expenses are an appropriately modest amount for the obvious benefit to the Class of
commencing the first action and publishing the PSLRA notice l\/loreover, movants note that
“prior to, and at the time of the filing of the Kaliman Complaint, no law firm had issued a press
release announcing an investigation into the Company” and that the potential action “had managed

to slip past other law firms.” ECF No. 778, at 3. Class Plaintiffs observe that there is some truth

26

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 35 of 40

to this assertion, in light of the foreign nexus of the allegations in this Action. As such, Class
Plaintiffs recommend that the Wolf Popper & Almeida application be granted in its entirety With
respect to the attorneys’ fees portion of this l\/lotion, Class Counsel agrees to pay the requested
amount out of its attorney fee award.

2. KSF’s Motion

KSF requests 8589,915.50 in attorneys’ fees and reimbursement of $2,650 in expenses
l\/fem. in Supp. of Kahn Swick & Foti, LLC’s App. for Award of Attorneys’ Fees and Expenses,
at 1 (Apr. 20, 2018), ECF No. 782. KSF’s request is based on the lodestar it incurred in this case
from l\/larch l, 2015 through the present Significantly, KSF seeks to recover its lodestar only for
work performed at the direction of Class Counsel, pursuant to its participation on the Plaintiffs’
Steering Committee for the lndividual Actions, which coordinated certain discovery and work
which was common to both the individual Actions and the Class Actions pursuant to this Court’s
Case l\/lanagement Order. Decl. of Kim 13 l\/liller, at l (Apr. 20, 2018), ECF No. 783. KSF is not
seeking attorneys’ fees for work which was done solely on behalf of its client, Aura Capital, Ltd.
(“Aura Capital”), which has opted to abandon its lndividual Action and participate in the
Settlement. Id. at 2. With respect to its request for reimbursement of expenses, KSF’s $2,650.50
request consists primarily of court reporter/transcript costs, photocopies, and legal research

Class Counsel acknowledges that KSF performed the work for which it seeks
compensation at Class Counsel’s request Class Counsel further believes that these assignments
were performed with proper diligence and care Significantly, Class Plaintiffs believe that there is
an additional value to having a sophisticated institutional investor such as Aura Capital confirm
the excellent result achieved by the Settlement by opting to discontinue its lndividual Action, for
which it has committed significant time and resources in litigating and remain in the Settlement

Class ln light of the work performed and benefit for the Class described above, Class Plaintiffs

27

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 36 of 40

recommend that KSF’s l\/fotion be granted in its entirety. With respect to KSF’s attorneys’ fees,
Class Counsel agrees to pay the requested amount from its fee award.

3. BLBG’s Motion

BLBG seeks payment of attorneys’ fees based upon a lodestar of 82,114,085, to be
allocated at Lead Counsel’s discretion, and reimbursement expenses of $1,146,873, for work
performed and expenses incurred directly in relation to the prosecution of its claims on behalf of
lndividual Action Plaintiffs in the Prudcntial lns., Hartford Muiual, Massrlduiual and Pacific
Funds Actions (“BLBG lndividual Action Plaintiffs”). Application of Bernstcin Litowitz Berger
& Grossmann lrl.,P for Reimbursement of Attorneys’ Fees and litigation Expenses, at 1 (Apr. 20,
2018), ECF No. 785 . Similar to KSl*"’s application, Class Plaintiffs recognize that there is a benefit
to the Class by having sophisticated institutional investors such as the BLBG lndividual Action
Plaintiffs, which likely assumed that they would extract a premium compared to the Settlement
Class, provide independent confirmation of the excellent result achieved by Class Plaintiffs by
opting to discontinue their action and participate in the Settlement.

Significantly, unlike KSl"’s fee application, BLBG’s application includes time spent
directly prosecuting the claims on behalf of the BLBG individual Action Plaintiffs and is not
limited to work performed at the direction of Class Counsel. As such, further scrutiny of its
application is appropriate lndeed, as set forth in the Lieberman Deelaration, the existence of over
500 individual plaintiffs was hardly a benefit to the Class Action. First, coordination of the
prosecution with the lndividual Action Plaintiffs, represented by multiple counsel with varying
opinions on how to litigate the common claims, was a cumbersome and distracting task.
Lieberman Decl`, at 146 ll 365 (Apr. 23, 2018), ECF `No. 789. l\/loreover, the existence of more
than 500 opt-out plaintiffs diluted the potency of this Class Action and was referenced by

Defendants as a reason to deny Class Plaintiffs’ l\/Iotion for Class Certification. See Dkt. No. 295

28

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 37 of 40

at 2-4, 11. Perhaps most significantly, the various lndividual Plaintiffs (including those
represented by BllBG) retained no less than three damages experts each of whom alleged a
significantly lower inflation per share than did Class Plaintiffs’ expert. The specter of four experts
(including Defendants’) each testifying at trial that damages were significantly lower than those
alleged by Class Plaintiffs’ expert was a serious threat to Class Plaintiffs’ damages expert’s
opinion, potentially resulting in a successful motion in limine by Defendants, and at the very least
hopelessly confusing a jury about an already arcane subject

As such, while BLBG’s work done at the direction of Class Counsel should certainly be
compensable Class Plaintiffs question whether hours billed towards representing lndividual
Action plaintiffs for the ostensible purpose of securing a larger recovery than Settlement Class
members is truly beneficial to the Class Nevertheless, to BLBG’s credit, it does not seek
compensation of the entirety of its $2,114,085 lodestar, but rather wishes that lodestar to be
recognized by the Court and allocated at Class Counsel’s discretion ECF No. 785 at 19. With
that caveat, Class Plaintiffs endorse BLBG’s application with respect to attorneys’ fees, with the
understanding that Class Counsel will apply a significant discount to the lodestar in light of the
mixed benefit to the Class resulting from the individual Actions. As the Settlement Fund, rather
than Class Counsel, will be paying for reimbursement of expenses, Bl,BG’s l\/lotion for
reimbursement of 81,146,873 in expenses warrants additional scrutiny. Class Plaintiffs observe
that 8256,867.35 of the requested expenses is attributable to the retention of the Direct Action
Plaintiffs’ loss causation/damages expert. Class Plaintiffs assume that this expert is Dr. Vinita
Junej a, who submitted an expert report on behalf of several lndividual Action Plaintiffs. lliberman
Decl., ECF No. 789, at 77 ll 189. While Dr. luneja is known to be a well-qualified damages expert,

Class Plaintiffs do not believe that her report was beneficial to the Settlement Class Specifically,

29

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 38 of 40

Dr. luneja opined on a significantly lower damages per share estimate than Class Plaintiffs, a fact
that was not lost upon Defendants throughout the course of the litigation as well as mediation
discussions As such., Class Plaintiffs believe that her report in this case was detrimental to Class
members, and reimbursement of expenses towards her report should be denied

'l`he remaining items for which BLBG seeks reimbursement do not appear to be for
expenses that were facially adverse to the Settlement Class’ interests As such, Class Plaintiffs
suggest that the Court consider the following factors in weighing BLBG’s expense reimbursement
request: 1) the benefit of the Settlement Class to having sophisticated institutional investors
represented by well qualified counsel independently verify the merits of the Settlement, ultimately
concluding that they were unlikely to achieve a better recovery on their own; 2) Bl,,BG did perform
certain litigation tasks at the direction of Class Counsel; 3) Class Plaintiffs’ observation that while
there was some benefit to BLBG defending the depositions and participating in discovery of
investment managers employed by their clients, said depositions were unlikely to have been
noticed had these lndividual Plaintil`fs not filed their own lawsuits; 4) BLBG’s clients were
litigating this case not for the purposes of improving the Class’s recovery, but rather their own,
potentially at the cost of the Class; and 5) while BLBG’s Individual Action Plaintiffs’ recoverable
damages accounted for less than .002% of those of the Settlement Class, it is requesting
reimbursement of nearly 7% of the total expenses requested by Class Counsel.

CONCLUSION

For the foregoing rcasons, Class Counsel respectfully request that the Court grant final
approval of the Settlement and award the requested attomeys’ fees and expenses, and grant the

requested awards to Lead and Named Plaintiffs.

30

Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 39 of 40

I')atcd: f\/Iay 25, 2018

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Respectfuily submitted
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Case 1:14-cV-09662-.]SR Document 824 Filed 05/25/18 Page 40 of 40

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32

